Case 1:02-cr-20839-WJZ Document 103 Entered on FLSD Docket 12/11/2015 Page 1 of 2
                                     O3 N          D OEB V
                     IN TH E U NIT ED STA T ES D IST R ICT C O U R T
              FOR THE SOUTHERN DISTRICT OF FLORIDA (M iam i)

  UN ITED STATE S AIM ERICA                       CASE N O :   l:2-mj-07137-TEB-1
              Plaintiff,
  vs.                                             JUD G E:     TED E.BAND S
  KEVIN BAPTISTE                                                               FILED jn
              D ,                                                                               oc
                efendant.                                                                        ''
                                    /                                            n:c ,T 2g,5
                 MOTION FOR EART.Y TERMINATION OF PROBATION                    S
                                                                               ctTLVZN&rvgjytvopj-g
                                                                                rl
                                                                                 -u-nuv s a/sy a.
                                                                                   L a(((j-aj
                                                                                S-li .        yay.
  CO M KS NOW the Defendant, K EVIN BAPTISTE m oves this Court for ata O rder
  TER M INATIN G TH K REM A IND ER O F H IS PR O BATION TER M .As grounds for this
  M otion,M r.Baptiste states as follow s:
     1. M r.Baptiste w as charged with,CO NSPEM CY TO PO SSESS W ITH INTENT TO
        DISTR IBUTE CO NCA INE .
     2. On April 8, 2003, M r. Baptiste case concluded with a disposition of G uilty on
        count # 1 and #3 ofcharges and w as sentenced to a prison term of 195 m onths.
     3. M r.B aptiste w as released from prison on M arch 16,20 13,and w as im m ediately
        placed on probation upon his release.D efendant'
                                                       s Supenrised Probation expires
        July 12,20 18.
     4. M r.Baptiste probation officer,Juan Nunez has no objections to the M otion for
        Early Term ination of Probation, and reports that <(a11 special term s and
        conditions have been m et and he has had no problem s V t.I'I M r. Baptiste''
        during his probation period.
     5. Other grounds to be argued ore tenus.


        W H EREFO RK , M r. Baptiste respectfully requests this Honorable Court grant
  this M otion for Early Term ination ofhis probation.


        I H ER EBY CERTIFY that a true and correct copy of the foregoing w as hand
  delivered the U S State Attorney, Probation O fficer Juan Nunez, atad the US D istrict
  Clerk of Court, 400        M inm i Avenue, M iam i, FL 331     , on this 11th, day of
  Decem ber,20 15.                                   e



                                             KEVIN BAPTIS 2,Pr e
                                             1896 SW 94th Avenue
                                             M iram ar,FL 33025
                                             (786)314-3538
Case 1:02-cr-20839-WJZ Document 103 Entered on FLSD Docket 12/11/2015 Page 2 of 2



                    IN T H E U N ITE D STA T ES D IST R ICT C O U R T
              FOR THE SOUTHERN DISTRICT OF FLORIDA (M iam i)


  U N ITED STATE S A IM E RIC A          CASE NO: 1:2-mj-07137-TEB-1
              Plaintiff,
  VS.                                    JU D G E :   TE D E .B A N D STIRA

  KEV IN BA PTISTE ,
              D efendant.



                                        OR DER

              M O TIO N FO R EA R LY T E R M INA TIO N O F PR O BA TIO N


        D efendant having presented to this C ou rt            M O TIO N FO R EAR W
  TER M INATION OF PRO BATIO N , and the Court having exam ined said M otion
  and otherw ise being fully advised in the prem ises,it is therefore,


              O RD ER ED AND ADJUDG ED thatsaid M otion is hereby:


               G R ANTE D                       D EN IE D


  D O NE A ND O R D E R E D in the In the U nited States D istrict Court for the
  Southern DistrictofFlorida,on this               day of                     2015.




                                         H O N .TE D E .B AN D STR A


  Copies furnished to:
  Clerk
  State A ttorney
  Probation O fficer
  D efendant
